Case 1:17-cv-01426-RGA Document 23 Filed 05/07/18 Page 1 of 4 PageID #: 160




                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE


  DISPLAY TECHNOLOGIES LLC,                          Civil Action No. 17-cv-1426-RGA

                                                     PATENT CASE
                         Plaintiff,
  v.                                                 JURY TRIAL DEMANDED
  GIBSON INNOVATIONS USA,
  INC.,

                         Defendant.


             SUGGESTION OF BANKRUPTCY AND NOTICE OF STAY

         Defendant Gibson Innovations USA, Inc. (“Innovations”) hereby files this

  Suggestion of Bankruptcy and Notice of Stay, respectfully showing the Court as

  follows:

         On May 1, 2018, Innovations filed its Voluntary Petition under Chapter 11 of

  the United States Bankruptcy Code in the United States Bankruptcy Court for the

  District of Delaware, Case No. 18-11032-CSS, (the “Voluntary Petition”). A true and

  correct copy of the Voluntary Petition is attached hereto as Exhibit “A.” Pursuant to

  Section 362(a) of the Bankruptcy Code, the filing of the Petition operates as a stay of:

             (1) the commencement or continuation, including the issuance or

             employment of process, of a judicial, administrative, or other action or

             proceeding against the debtor that was or could have been commenced

             before the commencement of the case under this title, or to recover a

             claim against the debtor that arose before the commencement of the case

             under this title;
Case 1:17-cv-01426-RGA Document 23 Filed 05/07/18 Page 2 of 4 PageID #: 161




           (2) the enforcement, against the debtor or against property of the estate, of

           a judgment obtained before the commencement of the case under this

           title;

           (3) any act to obtain possession of property of the estate or of property

           from the estate or to exercise control over property of the estate;

           (4) any act to create, perfect, or enforce any lien against property of the

           estate;

           (5) any act to create, perfect, or enforce against property of the debtor any

           lien to the extent that such lien secures a claim that arose before the

           commencement of the case under this title;

           (6) any act to collect, assess, or recover a claim against the debtor that

           arose before the commencement of the case under this title;

           (7) the setoff of any debt owing to the debtor that arose before the

           commencement of the case under this title against any claim against the

           debtor; and

           (8) the commencement or continuation of a proceeding before the United

           States Tax Court concerning a tax liability of a debtor that is a corporation

           for a taxable period the bankruptcy court may determine or concerning the

           tax liability of a debtor who is an individual for a taxable period ending

           before the date of the order for relief under this title.

        As a result of the operation of the automatic stay, all parties are stayed from

  any further continuation of these proceedings until such time as the Bankruptcy



                                             2
Case 1:17-cv-01426-RGA Document 23 Filed 05/07/18 Page 3 of 4 PageID #: 162




  Court may order otherwise. Attached hereto is Innovations’ Proposed Order Staying

  Case.

          WHEREFORE, Innovations prays that this Court take notice of the

  Bankruptcy Stay and that this action be stayed.

  Dated: May 7, 2018

  OF COUNSEL:
  BATES & BATES, LLC                                 FERRY JOSEPH, P.A.
  Andrea E. Bates (Pro Hac Vice)                      /s/ Rick S. Miller
  Kurt W. Schuettinger (Pro Hac Vice)                 Rick S. Miller (#3418)
  1890 Marietta Boulevard NW                         824 Market St., Suite 1000
  Atlanta, GA 30318                                  P.O. Box 1351
  (404) 228-7439                                     Wilmington, DE 19899
  abates@bates-bates.com                             (302) 575-1555
  kschuettinger@bates-bates.com                      rmiller@ferryjoseph.com
  Attorneys for Defendant Gibson Innovations        Attorney for Defendant Gibson Innovations




                                               3
Case 1:17-cv-01426-RGA Document 23 Filed 05/07/18 Page 4 of 4 PageID #: 163




                              CERTIFICATE OF SERVICE

         The undersigned hereby certifies that a true and correct copy of the above and

  foregoing document has been served on May 7, 2018, to all counsel of record who are

  deemed to have consented to electronic service via the Court’s CM/ECF system per Local

  Rule CV-5.



                                                              /s/ Rick S. Miller
                                                              Rick S. Miller




                                              4
